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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                                                  IN ADMIRALTY

 In the Matter of LUIS CAMEJO PEREZ, as
 Owner of the 2018 Contender Boats 39-foot
 Center Console Vessel bearing Hull
                                                                    CASE NO. ________________________
 Identification No. JDJ9V148B818,

        Petitioner.


                                  PETITION FOR EXONERATION
                               FROM OR LIMITATION OF LIABILITY

        LUIS CAMEJO PEREZ ("Petitioner"), as Owner of the 2018 Contender Boats 39-foot

 center console vessel bearing Hull Identification No. JDJ9V148B818, files this Petition for

 Exoneration From or Limitation of Liability and states:

        1.        This is an action within the Court's admiralty and maritime jurisdiction pursuant

 to 28 U.S.C. §§ 1331 and 1333, 46 U.S.C. §§ 30501, Rule 9(h), and Supplemental Rule F.

        2.        Petitioner is over age 18, is a permanent resident of Broward County, Florida, and

 resided in Broward County, Florida, at all times material to this Petition.

        3.        Petitioner is the owner of record of the 2018 Contender Boats 39-foot Center

 Console Vessel bearing Hull Identification No. JDJ9V148B818 (the "Vessel"), and Petitioner

 owned the Vessel at all times material to this petition.

        4.        At all times material to this Petition, Petitioner stored the Vessel in Miami-Dade

 County, Florida at River Cove Marina, 2000 NW North River Drive, Miami, Florida 33125.

        5.        Petitioner used the Vessel exclusively for recreational purposes.




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        6.        On September 26, 2023, Petitioner and two other adult passengers, Michael

 Garcia and Orlando Reyes (collectively “the Group”), boarded the Vessel at River Cove Marina

 to conduct a "sea-trial" at the request of Reyes, a prospective purchaser of the Vessel.

        7.        The Group departed River Cove Marina in the Vessel and headed east in the

 Miami River until they reached the mouth of the Miami River, after which they traveled south

 along the coast under Rickenbacker Causeway and into Biscayne Bay.

        8.        The Group traveled on the Vessel south to Blackpoint Marina.

        9.        The Group then departed Blackpoint Marina on the Vessel and headed north in

 Biscayne Bay.

        10.       At approximately 2:00 p.m., while heading north in Biscayne Bay, the Vessel

 abruptly turned hard to starboard, causing the Group to be ejected into the water (the "Incident").

        11.       The operator of another vessel that was traveling through the area saw the

 Incident and immediately called for assistance.

        12.       Petitioner, Reyes and Garcia, were eventually recovered from the water and

 transported to a local hospital by Miami-Dade Fire Rescue.

        13.       Unfortunately Michael Garcia died as a result of the Incident.

        14.       Petitioner and Orlando Reyes survived the Incident.

        15.       At the time of the Incident, Michael Garcia was at the helm of Vessel.

        16.       The Vessel sustained severe damage as a result of the Incident, was partially

 submerged, was not operable, and had to be towed back to land. The Vessel was not lost or

 abandoned.

        17.       On October 11, 2023, attorney John H. Ruiz sent a letter to the insurer of

 Petitioner's Vessel giving formal notice that his office had been retained to represent Anneliesse



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 O’Conor as Curator for the Estate of Michael Garcia, deceased, and mother and natural guardian

 of decedent's minor children, Orlando M. Garcia and Alejandro R. Garcia (collectively,

 "Plaintiffs"), related to the Incident.

         18.       On October 18, 2023, Plaintiffs filed a lawsuit relating to the Incident in the

 Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, identified

 by Case No. 2023-024985-CA-22 (the "Wrongful Death Action").

         19.       In the Wrongful Death Action, Plaintiffs initially only sought to recover damages

 against the manufacturer of the Vessel, Contender Boats, Inc., and the manufacturer of the

 Vessel's outboard engines, Brunswick Corporation d/b/a Mercury Marine, arising from Michael

 Garcia's personal injuries and wrongful death due to the Incident.

         20.       On February 13, 2024, Plaintiffs filed an Amended Complaint in the Wrongful

 Death Action identifying Kyla Martinez as an additional survivor of the decedent, Michael

 Garcia, and also adding Petitioner as a named defendant. [See Am. Compl., Wrongful Death

 Action, attached as Exhibit 1].

         21.       On information and belief, Plaintiffs and Kyla Martinez are all residents and

 citizens of Miami-Dade County, Florida. [See Ex. 1 at ¶¶ 4-11].

         22.       On December 14, 2023, Petitioner's insurer, Harco National Insurance Company

 ("Harco"), filed a separate lawsuit and Complaint for Declaratory Relief relating to the Incident

 in the United States District Court, Southern District of Florida, identified by Case No. 23-cv-

 24743-KMW (the "Declaratory Relief Action").

         23.       In the Declaratory Relief Action, Harco seeks a declaration that the subject

 insurance policy on the Vessel was "rendered null and void" due to certain alleged breaches of

 the policy by Petitioner and that, therefore, Harco "owes no coverage of any kind for any loss or



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 damage to the Vessel or for any other claims by the insured or third -parties" relating to the

 Incident. [See Compl., Declaratory Relief Action, attached as Exhibit 2, at ¶ 2].

         24.       Petitioner, Plaintiffs, and Orlando Reyes are all named defendants in the

 Declaratory Relief Action. [Id. at ¶¶ 7-10].

         25.       The fair market value of the Vessel and her wreckage following the Incident is

 $3,000.00. [See Affidavit of Value, attached as Exhibit 3].

         26.       The Vessel and her wreckage are in Petitioner's possession and are presently

 being stored on a trailer at Petitioner's place of residence.

         27.       The Vessel was located within this District at all relevant times during the subject

 voyage, sea-trial, and Incident. Accordingly, venue is proper pursuant to Supplemental Rule F.

         28.       Petitioner seeks exoneration from liability for the Incident pursuant to

 Supplemental Rule F(2) and, in the alternative, Petitioner seeks to claim and invoke the rights,

 privileges, remedies and procedures of the Limitation of Liability Act, Title 46, U.S. Code §

 30501 et seq.

         29.       At all times material prior to the Incident, Petitioner exercised due diligence to

 maintain the Vessel in seaworthy condition and to properly maintain, equip, outfit and supply the

 Vessel with suitable machinery, appliances, and other appropriate and necessary equipment, all

 in good condition and suitable for its intended operation.

         30.       Plaintiffs and Kyla Martinez, on behalf of decedent, Michael Garcia, Orlando

 Reyes, Contender Boats, Inc., Brunswick Corporation d/b/a Mercury Marine, and Harco

 (collectively, the "Claimants") are the only known persons to have potentially sustained any loss,

 damage, or injury as a result of the Incident.




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        31.       Claimants' alleged losses, damages, or injuries were not caused or contributed to

 by any unseaworthy condition of the Vessel or by any fault, neglect, or lack of care by Petitioner

 or any others for whom Petitioner was or is responsible.

        32.       Petitioner denies that he, the Vessel, its appurtenances, or any person or property

 for whom he may be responsible is liable to any extent and Petitioner claims exoneration from

 liability for all claims, damages, and destruction done, occasioned, or incurred by any reason

 relating to the Incident.

        33.       In the alternative, and without admitting liability, Petitioner avers that in the event

 Petitioner or the Vessel and its appurtenances should be held responsible to any party by reason

 of the matters aforesaid, Petitioner claims the benefit of the limitation of liability as provided for

 in 46 U.S.C. § 30501 et seq. and all law supplementary thereto and amendatory thereof.

        34.       All losses, damages, injuries and destruction resulting from the aforesaid Incident

 were done, occasioned, and incurred without fault on the part of Petitioner and without

 Petitioner's privity or knowledge.

        35.       Further, Petitioner pleads the contributory negligence or assumption of risk of

 each of the Claimants, which negligence or assumption of risk is pleaded as a bar to or mitigation

 of the Claimants' rights to recover against Petitioner in relation to the Incident.

        36.       This Petition is timely filed within six months of Petitioner's receipt of Mr. Ruiz's

 October 11, 2023 letter of representation, which was the initial written notice to Petitioner of a

 potential claim for damage, loss, or injury exceeding the value of the Vessel as a result of the

 Incident. No other person or entity, other than those identified above, has made any claim against

 Petitioner relating to the Incident or provided written notice of any other such claim.




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        WHEREFORE, Petitioner, LUIS CAMEJO PEREZ, who at all material times was and is

 the Vessel's owner of record, respectfully requests that this Court:

        (a)       enter the proposed Order attached as Exhibit 5 to this Petition providing the

 following relief:


                  (1)       approving the Ad Interim Stipulation of Value attached as Exhibit 4 to this

                  Petition and calling for payment into the Court's registry in the form of a surety

                  bond securing Petitioner's interest in the Vessel and its appurtenances

                  immediately after the incident as set forth in the Affidavit of Value attached as

                  Exhibit 3, or such other amount which may be lawfully ordered by the Court, with

                  interest as provided by law from the date of said stipulation;


                  (2)       directing the Clerk to issue a Notice, attached as Exhibit 6, to all persons,

                  firms, and corporations claiming damage for any and all losses, damages,

                  destructions, deaths, or injuries resulting from the Incident, requiring each of them

                  to file any such claim with the Clerk of this Court and serve copies of said claim

                  on counsel of record for Petitioner on or before the date fixed by this Court in the

                  notice, or else be forever barred or permanently enjoined from making or filing

                  any such claims, and to make due proof of their respective claims before this

                  Court; and


                  (3)       staying prosecution of all suits, claims, and proceedings against Petitioner

                  arising from or related to the Incident, including the Wrongful Death Action and

                  the Declaratory Relief Action, and from this time forward restraining

                  commencement of any new or additional suit, action, or legal proceeding of any


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                  nature or description whatsoever against Petitioner or the Vessel or its

                  appurtenances with respect to any claim arising from or related to the Incident;


        (b)       enter a judgment finding that Petitioner and the Vessel and its appurtenances are

 not liable for any losses, damages, deaths, injuries, destruction, or any other claim whatsoever

 arising from the Incident and, accordingly, exonerating Petitioner from any and all liability

 which has been or may be claimed against it as a result of the Incident or, in the alternative, if

 any such liability is found to exist, limiting Petitioner's liability to the amount of the value of

 Petitioner's interest in the Vessel, its appurtenances, and pending freight immediately after the

 Incident and directing that the money or security paid into the Court's registry be divided pro

 rata among such claimants as may duly prove their claims before this Court, saving to all parties

 any priorities that they may be legally entitled to, and that judgment be entered discharging

 Petitioner, the Vessel, and its appurtenances of and from all further liability and forever

 enjoining and prohibiting the filing and prosecution of any claims against Petitioner or its

 property in consequence of or in connection with the Incident or any other matters and

 happenings referred to in this Petition; and




                                             [CONTINUED BELOW]




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        (c)       provide Petitioner any further relief deemed equitable and just under the

 circumstances.


                                                        Respectfully submitted,

                                                       /s/ Victor J. Pelaez
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